Filed 05/28/19                        Case 19-21640                                 Doc 49

                             UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF CALIFORNIA
                                      CIVIL MINUTES


    Case Title: Debora Leigh Miller−Zuranich Case No.: 19−21640 − B − 13J
                                             Date and Time: 05/28/2019 at 01:00

    Matter:    [35] − Motion/Application to Dismiss Case [JPJ−1] Filed by Trustee
    Jan P. Johnson (kwis)

    Judge: Christopher D. Jaime
    Courtroom Deputy: Danielle Mobley
    Reporter: Electronic Record
    Department: B


    APPEARANCES for :
    Movant(s) :
    Trustee − Jan P. Johnson
    Respondent(s) :
    (by phone) Debtor(s) Attorney − Peter L. Cianchetta


      HEARING CONTINUED TO: 6/18/19 at 01:00 PM




    CONTINUED TO 6/18/19 AT 1:00 P.M. THE DEBTOR SHALL FILE A RESPONSE BY 6/04/19
    REGARDING HER EDIBILITY AS A CHAPTER 13 DEBTOR. THE TRUSTEE SHALL FILE ANY
    REPLY BY 6/11/19.
